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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 1:05cr36-SPM

PATRICK JACKSON,
           Defendant.
______________________________/

      ORDER DIRECTING DEFENDANT TO FILE REPORT UNDER SEAL
             AND PROVIDE A COPY TO THE GOVERNMENT

      This cause comes before the Court on Defendant Patrick Trent Jackson’s

notice to court regarding competency evaluation (doc. 210). Defendant shall fax

a copy of the report to the Court (352-380-2414) for filing under seal and provide

a copy to the Government in accordance with18 U.S.C. § 4247(c).

      The Court will review the report and make a competency determination.

Unless a hearing is requested by the parties, the competency determination will

be made without a hearing. See Cheely v. United States, 367 F.2d 547, 548-49

(5th Cir. 1966) (hearing on issue of defendant’s mental competence is not

required when the report indicates that the defendant is competent); United

States v. Jones, 23 F.3d 1307, 1309 (8th Cir. 1994) (same).

      SO ORDERED this 25th day of July, 2007.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
